        Case 1:21-cr-00028-APM Document 1077 Filed 10/27/23 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
UNITED STATES OF AMERICA,                      )
                                               )         Case No. 1:21-cr-00028-APM
                      v.                       )
                                               )
CONNIE MEGGS,                                  )
                                               )
                  Defendant.                   )
                                               )

                    EMERGENCY MOTION STAY SELF-SURRENDER

       Defendant Connie Meggs, by and through the undersigned counsel, hereby respectfully

moves this Court for an Order temporarily staying execution of the Court’s September 3, 2023,

Judgement and Committal Order (ECF 1056), so as to delay Mrs. Meggs’s self-surrender date

until this Court can rule on Mrs. Meggs’s Motion for Release Pending Appeal (Oct. 20, 2023)

(ECF No. 1064).

       On February 9, 2023, a trial by jury was commenced as against Mrs. Meggs and her co-

defendants. On March 21, 2023, the jury found Mrs. Meggs guilty of all charged counts. On

August 30, 2023, this Court sentenced Mrs. Meggs on multiple counts to fifteen (15) months of

imprisonment (to run concurrently) and to twelve (12) months on a final count (also to run

concurrently). Judgment (Sept 3, 2023) (ECF No. 1056). Although that Judgement was signed

by the Court on September 3, 2023, it was not docketed by the Clerk until October 13, 2023. In

the meantime, on October 6, 2023, Mrs. Meggs was provided formal written notice of her

voluntary surrender date of October 31, 2023, at FDC Miami. Accordingly, after requesting that

Mrs. Meggs’s Judgment be docketed, on October 17, 2023, Mrs. Meggs noticed her appeal (ECF

No. 1058), and on October 20, 2023, filed a Motion for Release Pending Appeal pursuant to 18




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        Case 1:21-cr-00028-APM Document 1077 Filed 10/27/23 Page 2 of 4




U.S.C. § 1343(b). Motion (Oct. 20, 2023) (ECF No. 1064). 1 Pursuant to Rule 38(b)(1) of the

Federal Rules of Criminal Procedure, should the Court grant that motion, it “must” stay a

sentence of imprisonment pending appeal. Although defense counsel is aware of no precedent

governing a request for a stay in these precise circumstance, it is beyond dispute that the Court

has authority to enter a stay. See Motion Stay Release Order, United States v. Taylor, No. 21-cr-

392 (D.D.C. June 13, 2021) (ECF No. 8) (government motion to stay order of pretrial release

without citing any authority for the same). Somewhat analogously, a stay pending the appeal of

an issue requires district courts to assess: “(1) whether the petitioner is likely to prevail on the

merits of [her] appeal, (2) whether, without a stay, the petitioner will be irreparably injured, (3)

whether issuance of a stay will substantially harm other parties interested in the proceedings, and

(4) wherein lies the public interest.” McSurely v. McClellan, 697 F.2d 309, 317 (D.C. Cir. 1982).

        Here, it is also beyond dispute that Mrs. Meggs will be irreparably injured. Should she

obtain favorable relief on appeal, this Court cannot undo any term of imprisonment already

served by Mrs. Meggs. For the same reason, a temporary stay to allow the Court to rule on her

motion serves the public interest – where release pending appeal is warranted, there is no benefit

to the public in having persons unnecessarily endure incarceration. Nor will the government be

harmed by such a temporary stay. Finally, as the Court has repeatedly recognized, see Motion, at

2 (Oct. 20, 2023) (ECF No. 1064), Mrs. Meggs has met without exception the conditions of her

pretrial release for nearly three (3) years.

        Turning then to whether Mrs. Meggs is likely to prevail on the merits, as was briefed in

her motion for release pending appeal, there are at least two (2) issues that warrant this Court’s



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  It also warrants noting that on October 26, 2023, the government also noticed an appeal of the
Court’s Judgment as to Mrs. Meggs as well as all her co-defendants, ensuring that appellate
review of the same would occur. See Notice of Appeal (Oct. 26, 2023) (ECF No. 1074).
                                                   2
        Case 1:21-cr-00028-APM Document 1077 Filed 10/27/23 Page 3 of 4




careful consideration with the benefit of the government’s briefing. First, although it may not be

clearly erroneous to apply § 2J1.2(b)(1)(B), (b)(2) of the U.S. Sentencing Guidelines to

convictions involving the obstruction of the certification of the electoral college vote, see United

States v. Robertson, No. 22-3062 (D.C. Cir. Oct. 20, 2023), this Court has also acknowledged

that there is a split amongst courts in this District as to whether the enhancement ought apply.

See United States v. Seefried, 2022 U.S. Dist. LEXIS 196980, at *31-32 (D.D.C. Oct. 29, 2022).

Second, Mrs. Meggs will also challenge the Court’s denial of her motion for a new trial which

involves a truly novel panoply of circumstances concerning her jury’s deliberation which warrant

careful consideration on appeal.

                                         CONCLUSION

       For the foregoing reasons, Mrs. Meggs respectfully requests this Court temporarily stay

its Judgment and Committal Order so as to allow the Court to rule on her Motion for Release

Pending Appeal.

 Dated: October 27, 2023                    Respectfully submitted,

                                                   /s/ Stanley E. Woodward, Jr.
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                                                 3
        Case 1:21-cr-00028-APM Document 1077 Filed 10/27/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

       On October 27, 2023, the undersigned certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, and subsequently

electronically mailed to government counsel.



                                                   /s/ Stanley E. Woodward, Jr.
                                            Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
